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 1                                                   Judge Marsha J. Pechman
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 7
                                  UNITED STATES DISTRICT COURT
 8                               WESTERN DISTRICT OF WASHINGTON
                                           AT SEATTLE
 9
     UNITED STATES OF AMERICA,               )
10                                           )       NO.    CR08-207MJP
                            Plaintiff,       )
11                                           )
                            v.               )       ORDER TO SEAL
12                                           )
     RANDY HODGSON,                          )
13                                           )
                            Defendant.       )
14                                               )
15          Having read the Government’s Motion to Depart Downward from the Advisory
16   Sentencing Guideline Range in the above-captioned case, which was filed under seal, be
17   allowed to remain under seal,
18          It is hereby ORDERED that the Government’s Motion to Depart Downward from
19   the Advisory Sentencing Guideline Range in this matter shall remain sealed.
20          DATED this 27th day of March, 2009.



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23                                           Marsha J. Pechman
                                             United States District Judge
24

25   Presented by:
26
     s/ Brian Werner
27
     BRIAN WERNER
28   Assistant United States Attorney


     Order to Seal/Hodgson — 1
     CR08-207MJP
